(87

Case 4:09-cr-00043-SPF Document 270-4 Filed in USDC ND/OK on 12/28/09 Page 1 of 1 |

UNITED STATES ‘pIsTRICT COURT er FORTHE “ F I L E D
_ NORTHERN DISTRICT OF OKLAHOMA _—

co SEP 1 2004 3
UNITED STATES OF AMERICA, 4 } uel! Lombardi, Clark
Plaintiff, ) DISTRICT COURT.
v. Case No. 03-CR-0055-EA /
JUDITH RAY PATTERSON, )
“Defendants oo 3

Upon consideration of the Government's Motion forS entencing Relief, and for good cause
shown, the Government’s Motion for Sentencing Relief shall be granted.

IT IS ORDERED that the Court will grant a sentence reduction of : six 6) levels from her —
original offense level of fifteen a 5) at the time of sentencing to a evel nine 9) pursuant to Rule
35(b)(1) of the Federal Rules of Criminal Procedure. “The Court farther nds that the defendant is “_
a Criminal History Category I which would provide a sentencing g range of 4.10 months (Zone B).

Based upon the facts i in the ori gina Presentence investigation Report and the additional
information provided by the United States int their Rule 35 motion, ‘the Court reduces ‘ihe sentence oe
of Judith Ray Patterson to four (4) months.

of .

Dated this / day of September, 2004,

Oe inet Ef Le

CLAIRE V. EAGAN
UNITED STATES Dreier JUDGE ©

